           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       BRYSON CITY DIVISION

                          CRIMINAL NO. 2:07CR39



UNITED STATES OF AMERICA                   )
                                           )
                                           )
            VS.                            )            ORDER
                                           )
                                           )
GAVIN COLVIN                               )
                                           )


      THIS MATTER is before the Court on Defendant's motion that the

Court order the United States Marshal to transport him from the Buncombe

County Detention Facility in Asheville, North Carolina, to Mission Hospital

on Monday, June 23, 2008, where he may be permitted to visit with his wife

between 6:30 and 7:00 a.m., before her scheduled surgery. The motion is

denied.

      While the Court understands the Defendant’s concern for and need

to provide support for his wife during such a serious medical procedure, it

is unclear from the motion how a 30-minute visit would be of benefit to

either Defendant or his wife or why it is not possible for Defendant’s wife to

visit him at the jail facility before her admission to the hospital. In any



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event, the Court has been advised by the United States Marshal that such

a request is a “security nightmare” and that such a “service” is not provided

at Government expense.

     IT IS, THEREFORE, ORDERED that the Defendant's motion is

DENIED.

                                      Signed: June 20, 2008




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